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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                 8:15CR293
       vs.                                     )
                                               )                   ORDER
JOVENCIO LIMOSNERO and                         )
SHANE ARRE,                                    )
                                               )
                     Defendants.               )


      This matter is before the court on defendant Jovencio Limosnero’s unopposed
motion to continue trial [46] . Defendant is currently detained out of the district en route to
Nebraska. Counsel needs additional time to prepare for trial. The defendant shall comply
with NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the motion to continue trial is granted, as follows:

       1. The jury trial, for both defendants, currently set for January 12, 2016 is
continued to March 1, 2016.

       2. Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and March 1, 2016 shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel for the defendant the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED January 6, 2016.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
